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                                   UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF VIRGINIA
                                        ABINGDON DIVISION

                                 CRIMINAL MINUTES - MOTION HEARING


   Case No.: 1:19CR16                      Date: 2/27/20


   Defendant: Indivior, Inc. and Indivior PLC              Counsel: Georgina Druce
                                                           James Loonam
                                                           James Wooley
                                                           Jennifer DeGraw
                                                           Peter Romatowski
                                                           Thomas Bondurant



PRESENT:       JUDGE:                    James P. Jones     TIME IN COURT: 1:30 – 2:35 p.m.
               Deputy Clerk:             Felicia Clark                  Total: 1 hour 5 minutes
               Court Reporter:           Donna Prather, OCR
               U. S. Attorney:           Albert Mayer, Randy Ramseyer and Daniel Bubar


PROCEEDINGS:

Motion hearing held in re: DE 252 – Motion to Dismiss. All parties were present and ready to proceed. Oral
argument by defense counsel and the government. Court took under advisement DE 252 – Motion to Dismiss.
Court discussed case progression with counsel. Court adjourned.
